Case 1:18-cr-00258-BLW Document 1347-2 Filed 03/28/22 Page 1of5

Paibes its

Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 2:52:05 PM

By the way vlads employees will come to work for me, so I would need many many
phones from you, to keep them busy

 

¢ Received

—LAt (yiqieweini333970)
: 9/26/2014 2:52:07 PM
GOVERNMENT'S

Trial Exhibit

1:18-0258-BLW

3005-38

 

BABICHENKO-336656-0574

3005-38 / 1 3005-38
Case 1:18-cr-00258-BLW Document 1347-2 Filed 03/28/22 Page 2 of 5

¥ Received
—HAK (yiqieweini333970)
: 9/26/2014 2:52:25 PM
When they will work for you?

Palos =i 5)

Paul Babichenko/ MidStar (wxid_af39nx4897hp12)

BS) PAs) PAOD he Paes Ack rd)

Starting Nov

 

i” Received
DAS (yiqieweini333970) |
9/26/2014 2:56:35 PM
Good

Fale) 816

Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 2:56:37 PM

They will finish everything for Viad

Faleot=10\

Paul Babichenko/MidStar (wxid_af39nx4897hp12)
9/26/2014 2:56:51 PM

Vlad will still work tell Jan

 

. ¢ Received
—TAt (yiqieweini333970) ]
9/26/2014 2:56:55 PM
I will support you

a i=1116

Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 2:56:59 PM

To clean upiall his stuf

 

BABICHENKO-336656-0575

3005-38 / 2 3005-38-002
Case 1:18-cr-00258-BLW Document 1347-2 Filed 03/28/22 Page 3 of 5

Pitot =1 815

Paul Babichenko/ MidStar (wxid_af39nx4897hp12)
9/26/2014 2:57:03 PM

Ok thanks

 

¢ Received
—HAts (yiqieweini333970)
9/26/2014 2:57:19 PM

Will Viad keep his office?

Fal { <3 81

Paul Babichenko/ MidStar (wxid_af39nx4897hp1i2)
9/26/2014 2:57:29 PM

Im trying to get it

Faint -181 8

Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 2:57:57 PM

But company he is leading they might give to neighbor

ao =1 6)

Paul Babichenko/ MidStar (wxid_af39nx4897hp12)

9/26/2014 2:58:02 PM

Leasing

 

| | ¢ Received
—TAt (yiqieweini333970) Sfoef20i4 2:58.05 BM

How about Vlad ‘a eBay or amazon account? Will you take?

Paibes its

Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 2:58:21 PM

He doesn't want to give it

 

¥ Received
—y)AVs (yiqieweini333970)
9/26/2014 2:58:38 PM

Account is important

BABICHENKO-336656-0576

3005-38 / 3 3005-38-003
3005-38 / 4

Case 1:18-cr-00258-BLW Document 1347-2 Filed 03/28/22 Page 4of5

TAS

7 Sent

Paul Babichenko/ MidStar (wxid_af39nx4897hpi 2)

9/26/2014 2:58:48 PM

The employee who worked for him

raetot=18) 2

Paul Babichenko/ MidStar (wxid_af39Snx4897hp12)

9/26/2014 2:59:02 PM

They will be like contractors for me

Palest =i 816

Paul Babichenko/ MidStar (wxid_af39nx4897hpi2)
9/26/2014 2:59:07 PM

They have accounts

 

é Received

(yiqieweini333970)
9/26/2014 2:59:13 PM

Pest =18l 8

Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 2:59:14 PM

Sa they will do sales

Pilot a1 1%

Paul Babichenko/ MidStar (wxid_af39nx4897hp12)
9/26/2014 2:59:25 PM

So I'll be selling phones to them

Mimi 101%

Paul Babichenko/ MidStar (wxid_af39nx4897hp12)

9/26/2014-2:59:35 PM

They will sell online

 

BABICHENKO-336656-0577

3005-38-004
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Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 2:59:47 PM

But they will be supervised by me

 

¢ Received
—TAt® (yiqieweini333970)
9/26/2014 2:59:51 PM

I hope you can sell lot of phones in retails after your take his employee

Faleet 1318

Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 2:59:59 PM

And will be in my building

Pumot 1018
Paul Babichenko/ MidStar (wxid_af39nx4897hp1 2)
9/26/2014 3:00:05 PM

Yes

 

; ¢ Received
—TAK (yiqieweini333970)
9/26/2014 3:00:27 PM
Wholesale is too hard

¥ Received
—tPAt Cyiqieweini333970)
9/26/2014 3:00;35 PM
I like to try retail

¢ Received
—DAs (yiqieweini333970)
9/26/2014 3:00:41 PM

With you

alot 1114

Paul Babichenko/ MidStar (wxid_af39nx4897hpi2)
9/26/2014 3:00:58 PM

The retail between me and you

 

BABICHENKO-336656-0578

3005-38 / 5 3005-38-005
